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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 17-cv-24574-GAYLES

   Farah IBRAHIM, et al.,

          Plaintiffs/Petitioners,

   v.

   Juan ACOSTA, Assistant Field Officer Director,
   Miami Field Office, Immigration and Customs
   Enforcement, et al.

          Defendants/Respondents.
                                                      /

                                              ORDER

         THIS CAUSE is before the Court on Plaintiffs’ Motion for Contempt or in the

  Alternative to Enforce Court Order (the “Motion for Contempt”) [ECF No. 49], Plaintiffs’

  Motion for Emergency Hearing on Request for Transfer (the “Motion for Transfer”) [ECF No.

  80, and Defendants’ Motion for Clarification and Extension of Time to Complete the

  Requirements in the Court’s February 1, 2018, Order (the “Motion for Extension of Time”) [ECF

  No. 86]. The Court has carefully reviewed the motions, the applicable law, and argument of

  counsel. Being fully advised, the Court makes several findings.

         First, the Court finds that Defendants have failed to provide a sufficient basis for seeking

  a prolonged extension of time to complete the redaction and production of Plaintiffs’ A-Files.

  Second, the Court finds that the telephone recording and monitoring procedures in place at the

  Glades County Detention Center are presently insufficient to allow Plaintiffs to engage in

  confidential and privileged telephone communications with their attorneys. Finally, the Court

  finds that Defendants have failed to provide a sufficient basis for a blanket “no contact” policy



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  for in-person visits between Plaintiffs and their attorneys at the Glades County Detention

  Center. 1 Therefore, it is

          ORDERED AND ADJUDGED as follows:

          1.        Defendants shall produce the A-Files of all Somali nationals present on the

  December 7, 2017, flight, to the attorney(s) listed on each respective DHS Form G-28 on file, or

  make the A-Files available for inspection and copying at the Immigration and Customs

  Enforcement Miami Field Office, within fourteen (14) days from the date of this Order.

          2.        Defendants shall not be required to produce A-Files for those individuals who

  have opted-out of the putative class. Defendants may redact any privileged or otherwise

  confidential information but shall be required to produce a privilege log in accordance with the

  Federal Rules of Civil Procedure.

          3.        Defendants shall implement a procedure allowing Plaintiffs detained at the

  Glades County Detention Center the ability to engage in reasonable confidential and privileged

  in-person contact visits and telephone calls with their attorneys that are neither monitored nor

  recorded within fourteen (14) days from the date of this Order.

          DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of March, 2018.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




  1
     The Court notes that Defendants have taken steps to eliminate some of Plaintiffs’ concerns
  regarding the attorney visitation booths by agreeing to cease recording of the telephones used for
  communication in the visitation booths.
                                                  2
